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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                [Requested] Hearing Date: May 4, 2023 at 1:00p.m. (ET)
                                                                [Requested] Obj. Deadline: At or before the hearing

       MOTION OF DEBTORS FOR ENTRY OF AN ORDER (A) AUTHORIZING
       THE DEBTORS TO FILE CERTAIN DISCLOSURE SCHEDULES TO THE
     INTEREST PURCHASE AGREEMENT BETWEEN LEDGER HOLDINGS INC.,
       M 7 HOLDINGS, LLC AND MIAMI INTERNATIONAL HOLDINGS, INC.
              UNDER SEAL AND (B) GRANTING RELATED RELIEF

                  FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the “Debtors”) hereby submit this motion (this “Motion”) for entry of an order,

substantially in the form attached hereto as Exhibit A (the “Order”), pursuant to section 107(b) of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), rule 9018

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9018-1(b) of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”), (a) authorizing the Debtors to file under seal certain

information contained in the disclosure schedules (the “Disclosure Schedules”) to that certain

Interest Purchase Agreement (the “Purchase Agreement”) by and among Ledger Holdings Inc.,

M 7 Holdings, LLC (the “Buyer”) and, solely for purposes of Article I, Article III, Section 4.2,

Section 4.3, Section 4.6, Section 4.8, Section 4.16, Article V, Section 7.2 and Article VIII of the




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

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Purchase Agreement, Miami International Holdings, Inc. and (b) granting related relief. In

support of the Motion, the Debtors respectfully state as follows:

                                          Background

                  1.   On November 11 and November 14, 2022, the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under Chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

businesses and manage their properties as debtors-in-possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. Joint administration of the Debtors’ cases (the “Chapter 11

Cases”) was authorized by the Court by entry of an order on November 22, 2022 [D.I. 128]. On

December 15, 2022, the Office of the United States Trustee for the District of Delaware (the

“U.S. Trustee”) appointed an Official Committee of Unsecured Creditors (the “Committee”)

pursuant to section 1102 of the Bankruptcy Code [D.I. 231].

                  2.   Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the

Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the

Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

                  3.   On January 12, 2023, the Court entered the Order (A) Approving Bid

Procedures, Stalking Horse Procedures and the Form and Manner of Notices for the Sale of

Certain Businesses, (B) Approving Assumption and Assignment Procedures and (C) Scheduling




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Auction(s) and Sale Hearing(s) [D.I. 487] (the “Bid Procedures Order”). 2 The Bid Procedures

Order established, among other things, deadlines with respect to the marketing and sale of certain

of the Debtors’ assets, including the deadline to file a form of purchase agreement for the

LedgerX Business (the “Form Purchase Agreement”).

                  4.      On February 21, 2023, the Debtors filed the Form Purchase Agreement

under seal [D.I. 750, redacted version filed at D.I. 751]. In connection therewith, the Court

entered the Order (A) Authorizing the Debtors to File Certain Disclosure Schedules to the Form

Interest Purchase Agreement Under Seal and (B) Granting Related Relief [D.I. 802] (the

“Sealing Order”) authorizing the Debtors to file the portions of the form disclosure schedules

(the “Form Disclosure Schedules”), which was comprised of confidential non-Debtor

commercial and non-Debtor employee and contractor information that were redacted in the

version attached to the Notice of Filing of (I) Proposed LedgerX Business Sale Order and (II)

Form of LedgerX Business Purchase Agreement [D.I. 751] under seal (the “Confidential

Information”). The Sealing Order further authorizes the Debtors on a go forward basis to file

under seal the Confidential Information contained in additional documents related to the sale of

the LedgerX Business.

                  5.      In connection with the sale of the LedgerX Business, the Debtors have

filed the Notice of (I) Successful Bidder for the LedgerX Business and (II) Filing of the LedgerX

Business Purchase Agreement [D.I. 1341, redacted version filed at D.I. 1342], which among

other things, attaches the Purchase Agreement and Disclosure Schedules thereto. In addition to

the Confidential Information, certain of the Disclosure Schedules to the Purchase Agreement




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    All capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Bid
    Procedures Order.

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contain additional confidential non-Debtor commercial and non-Debtor employee and contractor

information that has been filed in a redacted format (the “Additional Confidential Information”)

that was not included in the Form Disclosure Schedules. In addition to highly sensitive

commercial information, including employee and contractor identities regarding the LedgerX

Business, as was the case with the Confidential Information, the Additional Confidential

Information also consists of the identities of certain entities and individuals as to which the

Buyer is acquiring claims pursuant to the Purchase Agreement. These entities and individuals

consist of, among others, existing or potential customers, investors in, or other commercial

counterparties of, the Buyer and/or the Buyer’s affiliates. Therefore, certain of the Additional

Confidential Information consists of highly sensitive commercial information regarding the

Buyer and its affiliates. The Additional Confidential Information does not relate to the economic

terms of the proposed Sale transaction.

                  6.    In connection with the sale of the LedgerX Business, the Debtors

anticipate filing additional documents in these Chapter 11 Cases that also may contain the

Additional Confidential Information. As such, the Debtors seek authority to file the Additional

Confidential Information under seal in the current Disclosure Schedules and any future schedules

or other documents filed in connection with the sale of the LedgerX Business. The Debtors will

provide counsel to the U.S. Trustee and the Committee (collectively, the “Disclosure Parties”)

with unredacted versions of the Disclosure Schedules on a highly confidential basis.

                                            Jurisdiction

                  7.   The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and


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1409. The statutory predicates for the relief requested herein are section 107(b) of the

Bankruptcy Code, Bankruptcy Rule 9018 and Local Rule 9018-1(b). Pursuant to Local Rule

9013-1(f), the Debtors consent to the entry of a final order or judgment by the Court in

connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                           Relief Requested

                  8.    By this Motion, the Debtors request entry of the Order, substantially in the

form attached hereto as Exhibit A, (a) authorizing the Debtors to file certain Disclosure

Schedules to the Purchase Agreement containing the Additional Confidential Information under

seal and (b) granting related relief.

                                            Basis for Relief

                  9.    Bankruptcy Code section 107(b) authorizes the issuance of orders that

protect parties from the potential harm resulting from the disclosure of confidential information.

Specifically, section 107(b) states that “[o]n request of a party in interest, the bankruptcy court

shall . . . (1) protect an entity with respect to a trade secret or other confidential research,

development, or commercial information . . . .” Similarly, Bankruptcy Rule 9018 and Local

Rule 9018-1 authorize the filing under seal of documents containing confidential information.

                  10.   The Debtors respectfully submit that the Additional Confidential

Information in the Disclosure Schedules that they seek to seal pursuant to this Motion is of a

sensitive, confidential and proprietary nature, and thus, is confidential commercial information as

contemplated by section 107 of the Bankruptcy Code. “Commercial information” has been

defined as “information which would result in an ‘unfair advantage to competitors by providing

them with information as to the commercial operations of the debtor.’” In re Alterra Healthcare


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Corp., 353 B.R. 66, 75 (Bankr. D. Del. 2006) (quoting Video Software Dealers Ass’n v. Orion

Pictures Corp. (In re Orion Pictures Corp.), 21 F.3d 24, 27 (2d Cir. 1994)). Unlike its

counterpart in rule 26(c) of the Federal Rules of Civil Procedure, section 107(b) of the

Bankruptcy Code does not require an entity seeking such protection to demonstrate “good

cause.” In re Orion Pictures Corp., 21 F.3d at 28. If an interested party is requesting to seal

information covered by section 107(b) of the Bankruptcy Code, “the court is required to protect a

requesting party and has no discretion to deny the application.” Id. at 27. Moreover, the

resulting order should be broad, that is “any order which justice requires.” FED. R. BANKR. P.

9018; In re Global Crossing, Ltd., 295 B.R. 720, 724 (Bankr. S.D.N.Y. 2003). Courts are

required to provide such protections, “generally where open inspection may be used as a vehicle

for improper purposes.” In re Orion Pictures Corp., 21 F.3d at 27. Indeed, the “authority goes

not just to the protection of confidential documents, but to other confidentiality restrictions that

are warranted in the interests of justice.” In re Global Crossing, Ltd., 295 B.R. at 724.

                  11.   The Additional Confidential Information contained in the Disclosure

Schedules the Debtors seek to file under seal consists of highly sensitive information regarding

the LedgerX Business and its employees and contractors, and highly sensitive information

regarding the Buyer and its affiliates, as applicable, and each of their respective existing or

potential customers, investors, and commercial counterparties that could give a competitor a

significant and unfair advantage to the detriment of the Debtors and the Buyer and/or subject

such non-Debtor employees and contractors to unnecessary scrutiny and/or potential poaching by

competing businesses. The Additional Confidential Information primarily consists of (1) the

names of, and information regarding employment arrangements with, employees and contractors

of the LedgerX Business, (2) recent developments in the LedgerX Business, and (3) the identity

of certain parties as to which the Buyer is acquiring claims under the Purchase Agreement that

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include, among others, existing and potential customers, investors in, and commercial

counterparties of the Buyer and/or the Buyer’s affiliates.

                  12.   If the Additional Confidential Information were made public, it could

disrupt the Debtors’ sale process, depress the value of the LedgerX Business to the ultimate

detriment of the Debtors and their stakeholders and harm the Buyer’s business and operations.

                  13.   The Debtors submit that other parties-in-interest will not be prejudiced by

the Additional Confidential Information being redacted from the public record because such

information does not relate to the economic terms of the proposed Sale transaction and shall be

disclosed in their entirety to the Court and the Disclosure Parties. Accordingly, the relief

requested by this Motion to seal the Additional Confidential Information is appropriate under

section 107(b) of the Bankruptcy Code.

                  14.   This Court has authorized debtors in other chapter 11 cases to file under

seal confidential information in connection with other sale transactions. See, e.g., In re

Mallinckrodt PLC, et al., Case No. 20-12522 (JTD) (Oct. 22, 2021), D.I. 4930 (authorizing

debtors to file purchase agreement and related information under seal); In re Carbonlite

Holdings LLC, et al., Case No. 21-10527 (JTD) (Jun. 22, 2021), D.I. 650 (authorizing sealing of

certain schedules to purchase agreement).

                  15.   Therefore, the Debtors submit for the reasons set forth herein that cause

exists under section 107(b) of the Bankruptcy Code and Bankruptcy Rule 9018 for the Debtors to

file the Additional Confidential Information under seal, subject to disclosure to the Disclosure

Parties.

                                   Notice and No Prior Request

                  16.   Notice of this Motion has been provided to: (a) the U.S. Trustee;

(b) counsel to the Committee; (c) the Securities and Exchange Commission; (d) the Internal


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Revenue Service; (e) the United States Department of Justice; (f) the United States Attorney for

the District of Delaware; (g) the Buyer; and (h) to the extent not listed herein, those parties

requesting notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the

nature of the relief requested, no other or further notice need be provided.

                  17.    No previous request for the relief sought herein has been made by the

Debtors to this or any other court.

                                             Conclusion

                  WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.




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